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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA


     J ANE D OE 1 AND J ANE D OE 2,
                                                Civil Action No.
          Petitioners,
                                                08-80736-CIV-MARRA
           v.

     U NITED S TATES OF A MERICA ,

          Respondent.

                                       Order

     Having read and considered the government’s Unopposed Motion to Seal

  Exhibit (DE 465), and finding good cause has been shown, it is

     ORDERED AND ADJUDGED that Document 403-15 be sealed. The redacted

  copy of exhibit O can be found at DE 465-1.

     DONE AND ORDERED in Chambers at West Palm Beach, Florida this 29th

  day of July, 2019.



                                                   KENNETH A. MARRA
                                                   United States District Judge



  Cc:   Counsel of Record
